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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

CALVIN ROBINSON,

            Plaintiff,                            Case No. 20-cv-10499
                                                  Hon. Matthew F. Leitman
v.

RYAN CHAPKO, et al.,

          Defendants.
__________________________________________________________________/

      ORDER GRANTING PLAINTIFF’S MOTION TO DISMISS CLAIMS
     AGAINST DEFENDANT FLINT POLICE DEPARTMENT (ECF No. 14)

        On February 27, 2020, Plaintiff Calvin Robinson filed an Amended

Complaint in this action in which he “add[ed the] Flint Police Department” as a

Defendant. (Am. Compl., ECF No. 5, PageID.13.) Robinson has now filed a

“request” with the Court to remove the Flint Department as a Defendant. (See Req.,

ECF No. 14.) The Court will construe Robinson’s request as a motion to dismiss

the Flint Police Department, and it GRANTS that motion. Accordingly, Robinson’s

claims in this action against the Flint Police Department are DISMISSED

WITHOUT PREJUDICE.

       IT IS SO ORDERED.

                                     s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE
Dated: September 25, 2020

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       I hereby certify that a copy of the foregoing document was served upon the
parties and/or counsel of record on September 25, 2020, by electronic means and/or
ordinary mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (810) 341-3794




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